               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:09-cr-00013-MR-DLH-7


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )                     ORDER
                                )
DORIS DENISE FOSTER,            )
                                )
                   Defendant.   )
_______________________________ )

        THIS MATTER is before the Court on the Defendant’s pro se Motion

for a Reduction in Sentence pursuant to Amendments 750 and 782. [Doc.

817].

        On March 4, 2010, a jury found the Defendant guilty of conspiring to

possess with intent to distribute cocaine base in violation of 21 U.S.C. §§

841(a)(1) and 846. The 2,902.43 grams (“2.9 KG”) of cocaine base for which

the Defendant was responsible,1 resulted in a Base Offense Level of 36

under the then-applicable United States Sentencing Commission Guidelines


1 The jury found the Defendant to be responsible for 50 or more grams of cocaine base
for the purpose of setting the statutory sentencing range. [Doc. 506]. As set out in the
Presentence Report, the Defendant was responsible for the 2,902.43 grams. [Doc. 525].
The Defendant objected to this determination [Doc. 543 at 1], but the Defendant’s
objection was overruled at sentencing.
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Manual. See USSG § 2D1.1 (2009). The Defendant’s Total Offense Level

of 36, combined with her Criminal History Category of VI, produced a

Guidelines imprisonment range of 324 to 405 months’ imprisonment. [Doc.

551 at 7-8]. This Court varied downward, however, and imposed a sentence

of 292 months’ imprisonment on September 22, 2010. [Doc. 563]. This

Court’s calculation of the quantity of drugs attributable to the Defendant, as

well as the resulting guideline range, were upheld on appeal. United States

v. Foster, 452 F. App'x 274, 276 (4th Cir. 2011), cert. denied, 133 S. Ct. 69

(2012).

      On September 14, 2015, the Federal Defenders of Western North

Carolina filed a Motion on the Defendant’s behalf for a reduction in sentence

pursuant to 18 U.S.C. § 3582 and Sentencing Guidelines Amendment 782.

[Doc. 784]. On December 16, 2015, the Defendant filed a pro se Motion for

a sentence reduction pursuant to Amendment 782 as well as Sentencing

Guidelines Amendment 750. [Doc. 802]. On February 25, 2016, this Court

found that the Defendant’s Total Offense Level was retroactively reduced

from 36 to 34 pursuant to Amendment 782. [Doc. 815]. The Defendant’s

amended Total Offense Level of 34, combined with her Criminal History

Category of VI, produced an amended Guideline Range of 262 to 327

months’ imprisonment. [Id.]. The Court accordingly reduced the Defendant’s


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sentence from 292 to 262 months’ imprisonment, the low end of the

amended Guideline Range.              [Id.].       Less than fourteen days later, the

Defendant filed the instant Motion.2 [Doc. 817]. The Defendant first alleges

that this Court used the wrong Criminal History Category in calculating her

reduced sentence pursuant to Amendment 782. [Id.]. The Defendant also

requests a sentence reduction pursuant to Amendment 750. [Id.].

       A district court is only authorized to modify or reduce a sentence after

imposition where (1) the Bureau of Prisons moves for a reduction, (2) the

Sentencing Commission amends the applicable Guidelines range, or (3)

another statute (including Rule 35 of the Federal Rules of Criminal

Procedure) expressly permits the court to do so.                      United States v.

Blackshear, 450 F. App'x 241, 242 (4th Cir. 2011) (citing 18 U.S.C. § 3582(c)

(“Section 3582”)). Once a court rules on the applicability of an amendment

to the Sentencing Guidelines with respect to a particular defendant, it

generally lacks the authority to reconsider that decision. United States v.

Hayes, No. CR 3:02-548 (CMC), 2015 WL 7274077, *1 (D.S.C. Nov. 16,

2015) aff'd, No. 15-7909, 2016 WL 1104016 (4th Cir. Mar. 22, 2016) (citing


2 The Clerk docketed the Defendant’s Motion on March 15, 2016, but this Court accepts
the Motion as effectively filed on March 8, 2016, the date that the Defendant placed it into
the prison’s internal mail system [Doc. 817 at 3]. See Houston v. Lack, 487 U.S. 266
(1988) (articulating the “prison mailbox rule”).


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United States v. Goodwyn, 596 F.3d 233, 236 (4th Cir. 2010) (“the clear

intent    of   [Section]   3582   is   to       constrain   postjudgment   sentence

modifications”), cert. denied, 130 S. Ct. 3530 (2010)). A district court may,

however, reconsider its decision under Section 3582 where Rule 35 of the

Federal Rules of Criminal Procedure permits it to do so. See 18 U.S.C. §

3582(c)(1)(B). Rule 35 provides that “[w]ithin 14 days after sentencing, the

court may correct a sentence that resulted from arithmetical, technical, or

other clear error.” Fed. R. Crim. P. 35.

         Amendment 782

         To the extent that the Defendant asks this Court to reconsider the

merits of its application of Amendment 782, this Court lacks the authority to

do so. Goodwyn, 596 F.3d at 236. Even if this Court were to construe the

Defendant’s argument regarding the Criminal History Category as an

assertion of a technical error under Rule 35, it would be equally unavailing.

The Defendant’s Criminal History Category at sentencing was correctly

determined to be VI. In varying downward, this Court explained that it

calculated the variance based on a reduction “equivalent [to] one Criminal

History Category level.” [Doc. 575 at 55]. That variance, however, did not

change the Defendant’s Criminal History Category. It was merely a means

of assessing the history and characteristics of the Defendant, as required by


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18 U.S.C. § 3553(a)(1). Thus, when this Court reviewed the Defendant’s

case for a 782 reduction on February 25, 2016, it correctly calculated the

amended Guideline Range based upon the Defendant’s correct Criminal

History Category of VI.

      Where a Defendant has received a sentence below the guideline range

at sentencing, the Court, when considering a § 3582 motion for reduction,

can give a commensurately lower sentence, but only under limited

circumstances. Such circumstances do not include accounting for any type

of variance. See USSG § 1B1.10(b)(2)(B). Hence, the Defendant was

eligible to have her sentence reduced to the low end of the guideline range,

which she received. The Defendant is not eligible for any greater reduction.

      Amendment 750

      Amendment 750 to the Guidelines retroactively lowered the base

offense levels for crimes involving certain quantities of crack cocaine. United

States v. Mann, 709 F.3d 301, 304 (4th Cir. 2013). Relevant to the instant

matter, Amendment 750 increased the minimum quantity of cocaine base

necessary to trigger a base offense level of 36 from 1.5 KG (USSG § 2D1.1

(2009)) to 2.8 KG (USSG § 2D1.1 (2010)). The Defendant was held to be

accountable for 2.9 KG of cocaine base. This amount remains greater than

the amended minimum quantity to fall within a base offense level of 36.


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Therefore, Amendment 750 has no impact on the Defendant’s guideline

range or sentence.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for a

Reduction in Sentence pursuant to Amendments 750 and 782. [Doc. 817] is

DENIED.

     IT IS SO ORDERED.
                                 Signed: April 5, 2016




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